                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

IN RE:                                   )
                                          )    Case No. 3:16-bk-05506
DAINON TARQUINIUS SIDNEY,                 )     Chapter 7
                                          )     Judge Harrison
      Debtor.                             )
                                          )     Obj. Due: February 13, 2017
                                          )     Hearing Set: February 21, 2017
______________________________________________________________________________

            OBJECTION OF TO MOTION TO REOPEN CHAPTER 7 CASE
_______________________________________________________________________________

         The Bank of Nashville, a division of Synovus Bank (hereinafter “Creditor”), a creditor of the

Debtor, hereby files this Objection to the Motion to Reopen Chapter 7 Case for the Purpose of

Amending Schedules B and C and Filing a Motion to Void Judicial Lien of the Bank of Nashville

[Docket No. 17] (the “Motion”). In support of this Objection, Creditor would show the Court:

         1.       Debtor commenced this case under Chapter 7 of the Bankruptcy Code on August 4,

2016.

         2.       In the Motion, Debtor alleges that the purpose of the Motion is to seek to avoid a judicial

lien obtained by creditor in 2009, which attached to certain real property that Debtor quitclaimed to a

non-debtor, Valinda Burks, on June 2, 2015 (via a Quitclaim Deed that was signed October 17, 2012).

         3.       As a result of this 2015 transfer, Debtor did not list this real property (or any other real

property) on his Schedule A.

         4.       Under Tennessee law, a grantee under a Quitclaim Deed takes the property subject to all

existing liens.

         5.       Ostensibly, the Motion seeks to reopen the Bankruptcy Case so that Debtor can add this

this transferred real property to his Schedule A and attempt to avoid the lien on a non-debtor asset.

         6.       Creditor objects to the Motion, as the Motion is futile and not appropriate under the

Bankruptcy Code. No basis exists under the Bankruptcy Code to grant the relief requested.

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         7.     Because this Motion is only seeking to reopen the case, Creditor files this Objection with

a reservation of rights as to any arguments as to any substantive motions or adversary proceedings filed

seeking the avoidance of the lien. for additional time to review the basis for the disbursement and

confirm that such payment is being made for reasons supported by the Bankruptcy Code.

         8.     Creditor reserves the right to supplement this objection at the scheduled hearing.

         WHEREFORE, based on the foregoing, Creditor files this Objection to the Debtor’s Motion,

asks that the Motion be denied, and for such other relief as may be warranted.

                                               Respectfully submitted,

                                               /s/ David M. Anthony
                                               David M. Anthony # 019951
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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and exact copy of the foregoing has been served via
electronic notice/ECF and/or United States Mail, first class, postage prepaid to the following persons:

         Alex Koval
         ROTHSCHILD & AUSBROOKS, PLLC
         1222 16TH Avenue South, Suite 12
         Nashville, TN 37212-2926

         U.S. Trustee
         701 Broadway
         Suite 318
         Nashville, TN 37203

this 13th day of February, 2017.
                                                      /s/ David M. Anthony
                                                      David M. Anthony




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